Case 5:21-mj-00637-DUTY Document 6 CLERK,
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                                          U.S. DISTRICT COURT



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                                                     CENTRAL DISTRICT OF CALIFORNIA
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                                                         BY: ___________________ DEPUTY
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     4                             UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
     5
         UNITED STATES OF AMERICA,                   )           Case No.: 5:21-MJ-00637-DUTY
     6                                               )
                                                     )
     7                                  Plaintiff,   )          ORDER OF DETENTION PENDING
                            v.                       )          FURTHER REVOCATION
     8                                                          PROCEEDINGS
                                                                (FED.R. CRIM. P.32.1(a)(6); 18
     9 JOSHUA FRANK HENTON,         )                           U.S.C. § 3143(a) (1))
                         Defendant. )
    10                              )

    11
                  The defendant having been arrested in this District pursuant to a warrant
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         issued by the United States District Court for the Southern District of California
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         for alleged violation(s) of the terms and conditions of probation or supervised
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         release; and
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                  Having conducted a detention hearing pursuant to Federal Rule of Criminal
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         Procedure 32.1 (a)(6) and 18 U.S.C. § 3143(a) (1), the Court finds that:
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         A. (7)      The defendant has not met his/her burden of establishing by clear and
    18
                     convincing evidence that he/she is not likely to flee if released under
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                    18 U.S.C. § 3142(b) or (c). This finding is based on the following:
    20
                    (7) information in the Pretrial Services Report and Recommendation
    21
                    (7) information in the violation petition and report(s)
    22
                    ( ) the defendant’s nonobjection to detention at this time
    23
                    (7) other: new arrest, substance abuse, non-compliance while on
    24
                                 supervision
    25
         and/or
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    1 B. (7)     The defendant has not met his/her burden of establishing by clear and

    2           convincing evidence that he/she is not likely to pose a danger to the safety

    3          of any other person or the community if released under 18 U.S.C. §

    4       3142(b) or (c). This finding is based on the following:

    5       (7) information in the Pretrial Services Report and Recommendation

    6       (7) information in the violation petition and report(s)

    7       ( ) the defendant’s nonobjection to detention at this time

    8       (7) other: new arrest, substance abuse, criminal history, non-compliance

    9                  while on supervision

   10

   11 IT THEREFORE IS ORDERED that the defendant be detained pending the further

   12 revocation proceedings.

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   14 DATED: October 14, 2021
                                                           KENLY KIYA KATO
   15                                               UNITED STATES MAGISTRATE JUDGE

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